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                          UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN

In re:
                                                 Case No. 21-00524-jwb
LARRY ALLEN CLUCHEY,
                                       Chapter 7
                        Debtor.
_______________________________________/

WORLD ENERGY INNOVATIONS,
LLC, f/d/b/a WORTHINGTON ENERGY
INNOVATIONS, LLC,

                                Plaintiff,

         v.                                      Adversary Proceeding No. 21-80053-jwb

LARRY ALLEN CLUCHEY and
SHERRY D. CLUCHEY,

                        Defendants.
_______________________________________/

STIPULATED ORDER EXTENDING DEADLINE TO OBJECT TO DISCHARGE AND
                     CONTINUING PRETRIAL

         On August 30, 2021, Plaintiff filed its Motion for an Order Extending Time to Object to

Discharge Under 11 U.S.C. § 727(c)(1) (the “Motion”) [Case No. 21-00524, Doc. No. 52]. A

continued hearing on the Motion, as well as a continued pretrial in adversary proceeding 21-80053,

are currently scheduled for July 14, 2022. After conferring with each other in good faith, the

parties have stipulated to resolve the Motion. Accordingly, for good cause shown,

         IT IS HEREBY ORDERED that:

         1.     The Motion of World Energy Innovations, LLC for an Order Extending Time to

Object to Entry of Discharge Under 11 U.S.C. Section 727(c)(1) is granted, subject to the

limitations set forth herein.
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         2.      Plaintiff shall have until August 19, 2022 to file an amended complaint asserting

 additional claims under Section 727(c)(1), which shall amend only as to Defendant Larry Cluchey.

         3.      If an amended complaint is filed, Mr. Cluchey shall have until September 2, 2022

 to answer or file a motion to dismiss as to any new claims.

         4.      The parties shall submit a joint discovery plan by September 2, 2022 if no amended

 complaint is filed, or if an amended complaint filed, within 2 weeks of the filing of an answer or

 ruling on the motion to dismiss.

         5.      The first pretrial conference is hereby continued to October 13, 2022 at 10:00 AM

 ET and the United States Bankruptcy Court, One Division Ave., N., 3rd Floor, Courtroom B, Grand

 Rapids, MI 49503.


 So stipulated by:

 /s/ Robert F. Wardrop, II
 Robert F. Wardrop, II
 Counsel for Defendant Larry A. Cluchey

 /s/ Steven M. Bylenga
 Steven M. Bylenga
 Counsel for Defendant Sherry D. Cluchey

 /s/ Jacob L. Carlton
 Jacob L. Carlton
 Counsel for the Chapter 7 Trustee

 /s/ John C. Cannizzaro
 John C. Cannizzaro
 Counsel for Plaintiff World Energy Innovations, LLC



                                         END OF ORDER




IT IS SO ORDERED.

Dated July 13, 2022
